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            EXHIBIT 1
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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION



 UMG RECORDINGS, INC., et al.                   §
                                                §
         Plaintiffs,                            §
                                                §
 vs.                                            §
                                                §
                                                §       Civil Action No. 1:17-cv-365
 GRANDE COMMUNICATIONS
 NETWORKS LLC                                   §
                                                §       Jury Trial Demanded
 and
 PATRIOT MEDIA CONSULTING, LLC                  §
                                                §
         Defendants                             §
                                                §


WARNER PLAINTIFFS’ OBJECTIONS AND RESPONSES TO DEFENDANTS’ FIRST
                SET OF REQUESTS FOR PRODUCTION


        Pursuant to Federal Rules of Civil Procedure 26 and 34, and the Protective Order entered in

this matter, Warner Bros. Records Inc., Atlantic Recording Corporation, Elektra Entertainment

Group Inc., Fueled by Ramen LLC, Nonesuch Records Inc., Rhino Entertainment Company, and

Roadrunner Records, Inc. (together the “Warner Plaintiffs” or “Plaintiffs”) serve their Objections

and Responses to Defendants’ First Set of Requests for Production. Plaintiffs reserve the right to

supplement or modify these Objections and Responses based on further information adduced during

discovery.

       OBJECTIONS AND RESPONSES TO SPECIFIC REQUESTS FOR PRODUCTION

REQUEST FOR PRODUCTION NO. 1:

        All documents and things, the identification of which is requested in Defendants’ First Set of

Interrogatories.

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RESPONSE: Plaintiffs object to this request as overbroad, as it encompasses a wide range of

materials that are not relevant and not proportional to the needs of the case, and thus not

discoverable under Federal Rule of Civil Procedure 26. Plaintiffs further object to this request as

seeking information protected by the attorney-client and work product privileges.

        Subject to and without waiving these objections, as well as Plaintiffs’ objections to

Defendants’ First Set of Interrogatories, Plaintiffs will produce all non-privileged, relevant and

responsive documents, in their possession, custody and control (other than documents Defendants

have produced to Plaintiffs in discovery) that Plaintiffs identify in their responses to Defendants’

First Set of Interrogatories.

REQUEST FOR PRODUCTION NO. 2:

        All documents and things consulted or relied upon, but not identified, in responding to

Defendants’ First Set of Interrogatories.

RESPONSE: Plaintiffs object to this request as vague, particularly the term “consulted,” and

because this request does not adequately describe the documents being requested. In addition,

Plaintiffs object to this request as overbroad, as it encompasses a wide range of materials that are not

relevant and not proportional to the needs of the case, and thus not discoverable under Federal Rule

of Civil Procedure 26. Plaintiffs further object to this request as seeking information protected by

the attorney-client and work product privileges. In light of these objections, Plaintiffs will not be

producing documents in response to this request.

REQUEST FOR PRODUCTION NO. 3:

        All documents and things that refer to, relate to, or evidence Plaintiffs’ Causes of Action or

that Plaintiffs may rely on to support their Causes of Action.

RESPONSE: Plaintiffs object to this request as overbroad, as it encompasses a wide range of


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materials that are not relevant and not proportional to the needs of the case, and thus not

discoverable under Federal Rule of Civil Procedure 26. Plaintiffs further object to this request as

seeking information protected by the attorney-client and work product privileges.

       Subject to and without waiving these objections, Plaintiffs will produce relevant, non-

privileged documents that evidence Plaintiffs’ Causes of Action and/or that Plaintiffs may rely on to

support their Causes of Action (other than documents Defendants have produced to Plaintiffs in

discovery).

REQUEST FOR PRODUCTION NO. 4:

All documents and things that refer to Grande.

RESPONSE: Plaintiffs object to this request as overbroad, as it encompasses a wide range of

materials that are not relevant and not proportional to the needs of the case, and thus not

discoverable under Federal Rule of Civil Procedure 26. Plaintiffs further object to this request as

seeking information protected by the attorney-client and work product privileges.

       Subject to and without waiving these objections, Plaintiffs will produce relevant, non-

privileged documents responsive to this request, to the extent such documents exist, are in Plaintiffs’

possession, custody or control (other than documents Defendants have produced to Plaintiffs in

discovery), and are located after a reasonably diligent search.

REQUEST FOR PRODUCTION NO. 5:

All documents and things that refer to Patriot.

RESPONSE: Plaintiffs object to this request as overbroad, as it encompasses a wide range of

materials that are not relevant and not proportional to the needs of the case, and thus not

discoverable under Federal Rule of Civil Procedure 26. Plaintiffs further object to this request as

seeking information protected by the attorney-client and work product privileges.


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       Subject to and without waiving these objections, Plaintiffs will produce relevant, non-

privileged documents responsive to this request, to the extent such documents exist, are in Plaintiffs’

possession, custody or control (other than documents Defendants have produced to Plaintiffs in

discovery), and are located after a reasonably diligent search.

REQUEST FOR PRODUCTION NO. 6:

       All documents and things that refer or relate to the “separate and distinct act[s] of

infringement” referenced in paragraphs 67 and 81 of the Complaint.

RESPONSE: Plaintiffs object to this request as overbroad, as it encompasses a wide range of

materials that are not relevant and not proportional to the needs of the case, and thus not

discoverable under Federal Rule of Civil Procedure 26. Plaintiffs further object to this request as

seeking information protected by the attorney-client and work product privileges.

       Subject to and without waiving these objections, Plaintiffs will produce non-privileged

documents evidencing the infringement of Plaintiffs’ copyrights discussed in paragraphs 67 through

81 of the Complaint, to the extent such documents exist, are in Plaintiffs’ possession, custody or

control (other than documents Defendants have produced to Plaintiffs in discovery), and are located

after a reasonably diligent search.

REQUEST FOR PRODUCTION NO. 7:

       For each “separate and distinct act of infringement” referenced in paragraphs 67 and 81 of

the Complaint, all documents and things that refer or relate to the conduct alleged to constitute the

underlying act(s) of direct infringement.

RESPONSE: Plaintiffs object to this request as overbroad, as it encompasses a wide range of

materials that are not relevant and not proportional to the needs of the case, and thus not

discoverable under Federal Rule of Civil Procedure 26. Plaintiffs further object to this request as

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seeking information protected by the attorney-client and work product privileges.

          Subject to and without waiving these objections, Plaintiffs will produce non-privileged

documents evidencing the infringement of Plaintiffs copyrights discussed in paragraphs 67 through

81 of the Complaint, to the extent such documents exist, are in Plaintiffs’ possession, custody or

control (other than documents Defendants have produced to Plaintiffs in discovery), and are located

after a reasonably diligent search.

REQUEST FOR PRODUCTION NO. 8:

          All documents and things that refer or relate to alleged copyright infringement committed by

Grande Subscribers.

RESPONSE: Plaintiffs object to this request as overbroad, as it encompasses a wide range of

materials that are not relevant and not proportional to the needs of the case, and thus not

discoverable under Federal Rule of Civil Procedure 26. Plaintiffs further object to this request as

seeking information protected by the attorney-client and work product privileges.

          Subject to and without waiving these objections, Plaintiffs will produce relevant, non-

privileged documents evidencing the infringement of Plaintiffs’ copyrights by Grande users, to the

extent such documents exist, are in Plaintiffs’ possession, custody or control (other than documents

Defendants have produced to Plaintiffs in discovery), and are located after a reasonably diligent

search.

REQUEST FOR PRODUCTION NO. 9:

          All documents and things that refer to, relate to, or evidence that the alleged copyright

infringement committed by Grande Subscribers was or is willful.

RESPONSE: Plaintiffs object to this request as overbroad, as it encompasses a wide range of

materials that are not relevant and not proportional to the needs of the case, and thus not


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discoverable under Federal Rule of Civil Procedure 26. Plaintiffs further object to this request as

seeking information protected by the attorney-client and work product privileges.

          Subject to and without waiving these objections, Plaintiffs will produce relevant, non-

privileged documents evidencing that the infringement of Plaintiffs’ copyrights by Grande users was

or is willful, to the extent such documents exist, are in Plaintiffs’ possession, custody or control

(other than documents Defendants have produced to Plaintiffs in discovery), and are located after a

reasonably diligent search.

REQUEST FOR PRODUCTION NO. 10:

          All documents and things that support or relate to your allegation in paragraph 57 of the

Complaint that “subscribers who frequently upload copyrighted content often pay higher monthly

premiums for higher bandwidth.”

RESPONSE: Plaintiffs object to this request as overbroad, as it encompasses a wide range of

materials that are not relevant and not proportional to the needs of the case, and thus not

discoverable under Federal Rule of Civil Procedure 26. Plaintiffs further object that this request

seeks documents in the possession, custody or control of Defendants and Grande Subscribers,

including the amount of bandwidth purchased by any particular subscriber and any additional

charges imposed by Grande for exceeding such bandwidth. Plaintiffs also object to this request as

seeking information protected by the attorney-client and work product privileges.

          Subject to and without waiving these objections, Plaintiffs will produce relevant, non-

privileged documents evidencing the referenced allegation in paragraph 57 of the Complaint, to the

extent such documents exist, are in Plaintiffs’ possession, custody or control (other than documents

Defendants have produced to Plaintiffs in discovery), and are located after a reasonably diligent

search.


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REQUEST FOR PRODUCTION NO. 11:

       All documents and things that refer to, relate to, or evidence Grande Subscribers that signed

up for Grande’s internet service due to the ability to commit acts of infringement using Grande’s

network.

RESPONSE: Plaintiffs object to this request as overbroad, as it encompasses a wide range of

materials that are not relevant and not proportional to the needs of the case, and thus not

discoverable under Federal Rule of Civil Procedure 26. Plaintiffs further object to this request on

the ground that it seeks documents in the possession, custody or control of Defendants and Grande

Subscribers. Plaintiffs also object to this request as seeking information protected by the attorney-

client and work product privileges.

       Subject to and without waiving these objections, Plaintiffs will produce relevant, non-

privileged documents evidencing that Grande Subscribers signed up for Grande’s internet service

due to the ability to commit acts of infringement using Grande’s network, to the extent such

documents exist, are in Plaintiffs’ possession, custody or control (other than documents Defendants

have produced to Plaintiffs in discovery), and are located after a reasonably diligent search.

REQUEST FOR PRODUCTION NO. 12:

       All documents and things that refer to, relate to, or evidence Grande Subscribers that continued

their subscription for Grande’s internet service due to the ability to commit acts of infringement using

Grande’s network.

RESPONSE: Plaintiffs object to this request as overbroad, as it encompasses a wide range of

materials that are not relevant and not proportional to the needs of the case, and thus not

discoverable under Federal Rule of Civil Procedure 26. Plaintiffs further object to this request on

the ground that it seeks documents in the possession, custody or control of Defendants and Grande


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Subscribers. Plaintiffs also object to this request as seeking information protected by the attorney-

client and work product privileges.

       Subject to and without waiving these objections, Plaintiffs will produce relevant, non-

privileged documents evidencing that Grande Subscribers continued to use Grande’s internet service

due to the ability to commit acts of infringement using Grande’s network, to the extent such

documents exist, are in Plaintiffs’ possession, custody or control (other than documents Defendants

have produced to Plaintiffs in discovery), and are located after a reasonably diligent search.

REQUEST FOR PRODUCTION NO. 13:

       All documents and things that refer to, relate to, or evidence Grande Subscribers that

discontinued or cancelled their subscription for Grande’s internet service due to the ability or

inability to commit acts of infringement using Grande’s network.

RESPONSE: Plaintiffs object to this request as overbroad, as it encompasses a wide range of

materials that are not relevant and not proportional to the needs of the case, and thus not

discoverable under Federal Rule of Civil Procedure 26. Plaintiffs further object to this request as it

seeks documents in the possession, custody or control of Defendants and Grande Subscribers.

Plaintiffs also object to this request as seeking information protected by the attorney-client and work

product privileges.

       Subject to and without waiving these objections, Plaintiffs will produce relevant, non-

privileged documents evidencing that Grande Subscribers continued to use Grande’s internet service

due to the ability to commit acts of infringement using Grande’s network, to the extent such

documents exist, are in Plaintiffs’ possession, custody or control (other than documents Defendants

have produced to Plaintiffs in discovery), and are located after a reasonably diligent search.

REQUEST FOR PRODUCTION NO. 14:


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       All documents and things that support or relate to your allegation in paragraph 66 of the

Complaint that “the availability of music – and particularly Plaintiffs’ music – acts as a powerful

draw for users of Grande’s service.”

RESPONSE: Plaintiffs object to this request as overbroad, as it encompasses a wide range of

materials that are not relevant and not proportional to the needs of the case, and thus not

discoverable under Federal Rule of Civil Procedure 26. Plaintiffs further object to this request as it

seeks documents in the possession, custody or control of Defendants and Grande Subscribers.

Plaintiffs also object to this request as seeking information protected by the attorney-client and work

product privileges.

       Subject to and without waiving these objections, Plaintiffs will produce relevant, non-

privileged documents evidencing that the availability of music, including Plaintiffs’ music, through

infringing conduct such as use of BitTorrent or other peer-to-peer file sharing systems, acts as

powerful draw for infringing Grande Subscribers to use Grande’s internet service, to the extent such

documents exist, are in Plaintiffs’ possession, custody or control (other than documents Defendants

have produced to Plaintiffs in discovery), and are located after a reasonably diligent search.

REQUEST FOR PRODUCTION NO. 15:

      All documents and things that refer to, relate to, or evidence the monetary losses that Grande

or other ISPs incur as a result of copyright infringement.

RESPONSE: Plaintiffs object to this request as confusing, vague and irrelevant. Plaintiffs do not

allege that Defendants suffer monetary loses from infringement. Plaintiffs allege that Defendants

derive a direct financial benefit from infringement. Plaintiffs further object to this request as

overbroad, as it encompasses a wide range of materials that are not relevant and not proportional to

the needs of the case, and thus not discoverable under Federal Rule of Civil Procedure 26. In light


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of these objections, Plaintiffs will not be producing documents in response to this request.

REQUEST FOR PRODUCTION NO. 16:

       All documents and things that refer to, relate to, or evidence any negative effects

experienced by ISPs as a result of infringement occurring on their networks, including but not

limited to a reduction in available bandwidth, additional operating costs, or other taxation of the

resources of an ISP.

RESPONSE: Plaintiffs object to this request as confusing, vague and irrelevant. This request does

not relate in any way to any claims, defenses or issues in this case. Plaintiffs object to this request

as overbroad, as it encompasses a wide range of materials that are not relevant and not proportional

to the needs of the case, and thus not discoverable under Federal Rule of Civil Procedure 26.

Plaintiffs also object to this request as it seeks documents in the possession, custody or control of

Defendants and Grande Subscribers, to the extent any responsive documents exist. In light of these

objections, Plaintiffs will not be producing documents in response to this request.

REQUEST FOR PRODUCTION NO. 17:

       All documents and things that refer or relate to the efforts or other affirmative conduct an

ISP can engage in to stop or limit infringement from occurring on its network.

RESPONSE: Plaintiffs object to this request as overbroad, as it encompasses a wide range of

materials that are not relevant and not proportional to the needs of the case, and thus not

discoverable under Federal Rule of Civil Procedure 26. Plaintiffs further object to this request as

seeking documents outside of Plaintiffs’ possession, custody or control. Plaintiffs also object to this

request as seeking information protected by the attorney-client and work product privileges.

       Subject to and without waiving these objections, Plaintiffs will produce relevant, non-

privileged documents referring to or evidencing the efforts or other affirmative conduct an ISP can


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engage in to stop or limit infringement from occurring on its network, to the extent such documents

exist, are in Plaintiffs’ possession, custody or control (other than documents Defendants have

produced to Plaintiffs in discovery), and are located after a reasonably diligent search.

REQUEST FOR PRODUCTION NO. 18:

       All documents and things that refer to, relate to, or constitute an ISP’s response to receiving

an infringement notice from Rightscorp.

RESPONSE: Plaintiffs object to this request as overbroad, as it encompasses a wide range of

materials that are not relevant and not proportional to the needs of the case, and thus not

discoverable under Federal Rule of Civil Procedure 26. Plaintiffs further object to this request as it

seeks documents outside of Plaintiffs’ possession, custody or control. Plaintiffs also object to this

request as seeking information protected by the attorney-client and work product privileges.

       Subject to and without waiving these objections, Plaintiffs will produce relevant, non-

privileged documents reflecting communications from Defendants responding to notices of

infringement from Rightscorp, to the extent such documents exist, are in Plaintiffs’ possession,

custody or control (other than documents Defendants have produced to Plaintiffs in discovery), and

are located after a reasonably diligent search.

REQUEST FOR PRODUCTION NO. 19:

       All documents and things that refer to, relate, or constitute a communication between any

Plaintiff and Rightscorp.

RESPONSE: Plaintiffs object to this request as overbroad, as it encompasses a wide range of

materials that are not relevant and not proportional to the needs of the case, and thus not

discoverable under Federal Rule of Civil Procedure 26. Plaintiffs further object to this request as

seeking information protected by the attorney-client and work product privileges.

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       Subject to and without waiving these objections, Plaintiffs will produce relevant, non-

privileged documents reflecting communications between Plaintiffs and Rightscorp regarding

infringement engaged in by Grande users, to the extent such documents exist, are in Plaintiffs’

possession custody or control, and are located after a reasonably diligent search.

REQUEST FOR PRODUCTION NO. 20:

       All documents and things that refer to, relate to, or constitute a communication between

Rightscorp and either Defendant.

RESPONSE: Plaintiffs object to this request as overbroad, as it encompasses a wide range of

materials that are not relevant and not proportional to the needs of the case, and thus not

discoverable under Federal Rule of Civil Procedure 26. Plaintiffs further object that this request

seeks documents outside of Plaintiffs’ possession, custody or control. Plaintiffs also object to this

request as seeking information protected by the attorney-client and work product privileges.

       Subject to and without waiving these objections, Plaintiffs will produce relevant, non-

privileged documents reflecting communications between Plaintiffs and Rightscorp regarding

infringement engaged in by Grande users, to the extent such documents exist, are in Plaintiffs’

possession custody or control, and are located after a reasonably diligent search.

REQUEST FOR PRODUCTION NO. 21:

       All documents and things that refer or relate to the operation of the Rightscorp System,

including but not limited to its development, its use, and how the system operates.

RESPONSE: Plaintiffs object to this request as overbroad, as it encompasses a wide range of

materials that are not relevant and not proportional to the needs of the case, and thus not

discoverable under Federal Rule of Civil Procedure 26. Plaintiffs further object that this request

seeks documents outside of Plaintiffs’ possession, custody or control. Plaintiffs also object to this

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request as seeking information protected by the attorney-client and work product privileges.

         Subject to and without waiving these objections, Plaintiffs will produce non-privileged

documents sufficient to show the development, use, and operation of the Rightscorp System as it

relates to this lawsuit to the extent such documents exist, are in Plaintiffs’ possession custody or

control, and are located after a reasonably diligent search.

REQUEST FOR PRODUCTION NO. 22:

         All documents and things that refer or relate to your allegation in paragraph 43 of the

Complaint that “Rightscorp has developed a technological system that identifies actual

infringements and the perpetrators of these infringements (by IP address, port number, time, and

date).

RESPONSE: Plaintiffs object to this request as overbroad, as it encompasses a wide range of

materials that are not relevant and not proportional to the needs of the case, and thus not

discoverable under Federal Rule of Civil Procedure 26. Plaintiffs further object that this request

seeks documents outside of Plaintiffs’ possession, custody or control. Plaintiffs also object to this

request as seeking information protected by the attorney-client and work product privileges.

         Subject to and without waiving these objections, Plaintiffs will produce non-privileged

documents sufficient to show the development, use, and operation of the Rightscorp System as it

relates to this lawsuit to the extent such documents exist, are in Plaintiffs’ possession custody or

control, and are located after a reasonably diligent search.

REQUEST FOR PRODUCTION NO. 23:

         All documents and things that refer or relate to your allegation in paragraph 43 of the

complaint that “Rightscorp’s system also has the capability to acquire entire files from the infringing

host computers.”


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RESPONSE: Plaintiffs object to this request as overbroad, as it encompasses a wide range of

materials that are not relevant and not proportional to the needs of the case, and thus not

discoverable under Federal Rule of Civil Procedure 26. Plaintiffs further object that this request

seeks documents outside of Plaintiffs’ possession, custody or control. Plaintiffs further object to this

request as seeking information protected by the attorney-client and work product privileges.

       Subject to and without waiving these objections, Plaintiffs will produce non-privileged

documents sufficient to show the development, use, and operation of the Rightscorp System as it

relates to this lawsuit to the extent such documents exist, are in Plaintiffs’ possession custody or

control, and are located after a reasonably diligent search.

REQUEST FOR PRODUCTION NO. 24:

       All documents and things that refer to, relate to, or evidence flaws, weaknesses, deficiencies,

inefficiencies, errors, lack or absence of features or functionality, performance issues, modifications

or improvements needed, or any other problem associated with the Rightscorp System or its

operation.

RESPONSE: Plaintiffs object to this request as seeking documents that, to the extent they even

exist, are not relevant and not proportional to the needs of the case, and thus not discoverable under

Federal Rule of Civil Procedure 26. Plaintiffs further object that this request seeks documents

outside of Plaintiffs’ possession, custody or control. Plaintiffs also object to this request as seeking

information protected by the attorney-client and work product privileges.

       Subject to and without waiving these objections, at the present time, Plaintiffs are not aware

of any documents responsive to this request, but Plaintiffs will produce documents sufficient to

show the development, use, and operation of the Rightscorp System as it relates to this lawsuit to the

extent such documents exist, are in Plaintiffs’ possession custody or control (other than documents


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Defendants have produced to Plaintiffs in discovery), and are located after a reasonably diligent

search.



REQUEST FOR PRODUCTION NO. 25:

          All documents and things that refer to, relate to, or constitute Rightscorp notices sent to

Grande or any other ISP that were inaccurate, incomplete, or otherwise improperly sent to the

recipient.

RESPONSE: Plaintiffs object to this request as seeking documents that, to the extent they even

exist, are not relevant and not proportional to the needs of the case, and thus not discoverable under

Federal Rule of Civil Procedure 26. Plaintiffs further object that this request seeks documents

outside of Plaintiffs’ possession, custody or control. Plaintiffs further object to this request as

seeking information protected by the attorney-client and work product privileges.

          Subject to and without waiving these objections, at the present time, Plaintiffs are not aware

of any documents responsive to this request, but Plaintiffs will produce documents sufficient to

show the development, use, and operation of the Rightscorp System as it relates to this lawsuit to the

extent such documents exist, are in Plaintiffs’ possession custody or control (other than documents

Defendants have produced to Plaintiffs in discovery), and are located after a reasonably diligent

search.

REQUEST FOR PRODUCTION NO. 26:

          All documents and things that refer or relate to ways in which Grande or any other ISP can

stop or limit an internet subscribers’ access to or use of BitTorrent applications or other Peer- to-

Peer networks.

RESPONSE: Plaintiffs object to this request as overbroad, as it encompasses a wide range of


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materials that are not relevant and not proportional to the needs of the case, and thus not

discoverable under Federal Rule of Civil Procedure 26. Plaintiffs further object that this request

seeks documents outside of Plaintiffs’ possession, custody or control. Plaintiffs also object to this

request as seeking information protected by the attorney-client and work product privileges.

          Subject to and without waiving these objections, Plaintiffs will produce relevant, non-

privileged documents referring to or evidencing ways in which Grande or any other ISP can stop or

limit an internet subscribers’ access to or use of BitTorrent applications or other Peer- to-Peer

networks, including termination of such subscribers from using Grande’s internet service, to the

extent such documents exist, are in Plaintiffs’ possession, custody or control (other than documents

Defendants have produced to Plaintiffs in discovery), and are located after a reasonably diligent

search.

REQUEST FOR PRODUCTION NO. 27:

          All documents and things that support or relate to your allegation in paragraph 62 of the

Complaint that “Grande knowingly and intentionally induced, enticed, persuaded, and caused its

subscribers to infringe Plaintiffs’ Copyrighted Sound Recordings.”

RESPONSE: Plaintiffs object to this request as overbroad, as it encompasses a wide range of

materials that are not relevant and not proportional to the needs of the case, and thus not

discoverable under Federal Rule of Civil Procedure 26. Plaintiffs further object that this request

seeks documents outside of Plaintiffs’ possession, custody or control. Plaintiffs also object to this

request as seeking information protected by the attorney-client and work product privileges.

          Subject to and without waiving these objections, Plaintiffs will produce relevant, non-

privileged documents responsive to this request, to the extent such documents exist, are in Plaintiffs’

possession, custody or control (other than documents Defendants have produced to Plaintiffs in


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discovery), and are located after a reasonably diligent search.

REQUEST FOR PRODUCTION NO. 28:

All documents and things that support or relate to your allegation in paragraph 65 of the Complaint

that “Grande knowingly caused and otherwise materially contributed to these unauthorized

reproductions and distributions of Plaintiffs’ Copyrighted Sound Recordings.”

RESPONSE: Plaintiffs object to this request as overbroad, as it encompasses a wide range of

materials that are not relevant and not proportional to the needs of the case, and thus not

discoverable under Federal Rule of Civil Procedure 26. Plaintiffs further object that this request

seeks documents outside of Plaintiffs’ possession, custody or control. Plaintiffs also object to this

request as seeking information protected by the attorney-client and work product privileges.

       Subject to and without waiving these objections, Plaintiffs will produce relevant, non-

privileged documents responsive to this request, to the extent such documents exist, are in Plaintiffs’

possession, custody or control (other than documents Defendants have produced to Plaintiffs in

discovery), and are located after a reasonably diligent search.

REQUEST FOR PRODUCTION NO. 29:

       All documents and things that support or relate to your allegation in paragraph 76 of the

Complaint that “Patriot knowingly and intentionally induced, enticed, persuaded, and caused

Grande’s subscribers to infringe Plaintiffs’ copyrights in their sound recordings.”

RESPONSE: Plaintiffs object to this request as overbroad, as it encompasses a wide range of

materials that are not relevant and not proportional to the needs of the case, and thus not

discoverable under Federal Rule of Civil Procedure 26. Plaintiffs further object that this request

seeks documents outside of Plaintiffs’ possession, custody or control. Plaintiffs also object to this

request as seeking information protected by the attorney-client and work product privileges.


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       Subject to and without waiving these objections, Plaintiffs will produce relevant, non-

privileged documents responsive to this request, to the extent such documents exist, are in Plaintiffs’

possession, custody or control (other than documents Defendants have produced to Plaintiffs in

discovery), and are located after a reasonably diligent search.

REQUEST FOR PRODUCTION NO. 30:

All documents and things that support or relate to your allegation in paragraph 79 of the Complaint

that “Patriot knowingly caused and otherwise materially contributed to these unauthorized

reproductions and distributions of Plaintiffs’ Copyrighted Sound Recordings.”

RESPONSE: Plaintiffs object to this request as overbroad, as it encompasses a wide range of

materials that are not relevant and not proportional to the needs of the case, and thus not

discoverable under Federal Rule of Civil Procedure 26. Plaintiffs further object that this request

seeks documents outside of Plaintiffs’ possession, custody or control. Plaintiffs also object to this

request as seeking information protected by the attorney-client and work product privileges.

       Subject to and without waiving these objections, Plaintiffs will produce relevant, non-

privileged documents responsive to this request, to the extent such documents exist, are in Plaintiffs’

possession, custody or control (other than documents Defendants have produced to Plaintiffs in

discovery), and are located after a reasonably diligent search.

REQUEST FOR PRODUCTION NO. 31:

       All documents and things that support or relate to your allegation in paragraph 34 of the

Complaint that “Plaintiffs have invested, and continue to invest, significant money, time, effort, and

creative talent to create, promote, sell, and license their sound recordings,” including but limited to

all licensing agreements and other evidence of royalties received in connection with Plaintiffs’

Copyrighted Sound Recordings.


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RESPONSE: Plaintiffs object to this request as overbroad, as it encompasses a wide range of

materials that are not relevant and not proportional to the needs of the case, and thus not

discoverable under Federal Rule of Civil Procedure 26. In particular, Plaintiffs object to producing

“licensing agreements and other evidence of royalties received in connection with Plaintiffs’

Copyrighted Sound Recordings” as overbroad, unduly burdensome, and not proportional to the

needs of the case. Plaintiffs also object to this request as seeking information protected by the

attorney-client and work product privileges.

       Subject to and without waiving these objections, Plaintiffs will produce relevant, non-

privileged documents they may rely on to support a claim for actual damages in this case (other than

documents Defendants have produced to Plaintiffs in discovery).

REQUEST FOR PRODUCTION NO. 32:

       All documents and things that Plaintiffs may rely on to prove entitlement to statutory

damages, including but not limited to documents demonstrating entitlement to the maximum

amount of statutory damages as well as documents demonstrating entitlement to any amounts less

than the maximum amount of statutory damages.

RESPONSE: Plaintiffs object to this request as seeking information protected by the attorney-client

and work product privileges.

       Subject to and without waiving this objection, Plaintiffs will produce relevant, non-

privileged documents Plaintiffs may rely on to support a claim for statutory damages in this case

(other than documents Defendants have produced to Plaintiffs in discovery).

REQUEST FOR PRODUCTION NO. 33:

       All documents and things that Plaintiffs may rely on to prove entitlement to actual damages.

RESPONSE: Plaintiffs object to this request as seeking information protected by the attorney-


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client and work product privileges.

       Subject to and without waiving this objection, Plaintiffs will produce relevant, non-

privileged documents Plaintiffs may rely on to support a claim for actual damages in this case (other

than documents Defendants have produced to Plaintiffs in discovery).

REQUEST FOR PRODUCTION NO. 34:

        All documents and things that refer or relate to instances of infringement by any ISP or

infringement occurring on any ISP’s network and Plaintiffs’ knowledge of such infringement.

RESPONSE: Plaintiffs object to this request as confusing, vague and irrelevant, as infringement

potentially committed by some other ISP is not at issue in this action. Plaintiffs further object to this

request as overbroad, as it encompasses a wide range of materials that are not relevant and not

proportional to the needs of the case, and thus not discoverable under Federal Rule of Civil

Procedure 26. Plaintiffs also object to this request as seeking information protected by the attorney-

client and work product privileges. In light of these objections, Plaintiffs will not be producing

documents responsive to this request.

REQUEST FOR PRODUCTION NO. 35:

       All documents and things that refer to, relate to, or evidence when each Plaintiff became

aware of alleged infringement occurring on Grande’s network or otherwise gained knowledge of a

claim of infringement against Grande and/or Patriot for each instance of infringement that Plaintiffs

will rely on to prove damages in this case.

RESPONSE: Plaintiffs object to this request as overbroad, as it encompasses a wide range of

materials that are not relevant and not proportional to the needs of the case, and thus not

discoverable under Federal Rule of Civil Procedure 26. Plaintiffs further object that this request

seeks documents outside of Plaintiffs’ possession, custody or control. Plaintiffs also object to this


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request as seeking information protected by the attorney-client and work product privileges.

       Subject to and without waiving these objections, Plaintiffs will produce relevant, non-

privileged documents responsive to this request, to the extent such documents exist, are in Plaintiffs’

possession, custody or control (other than documents Defendants have produced to Plaintiffs in

discovery), and are located after a reasonably diligent search.

REQUEST FOR PRODUCTION NO. 36:

       All documents and things that refer to, relate to, or evidence Plaintiffs’ attempts or efforts to

prevent, inhibit, or otherwise reduce copyright infringement occurring through BitTorrent networks

or applications.

RESPONSE: Plaintiffs object to this request as overbroad, as it encompasses a wide range of

materials that are not relevant and not proportional to the needs of the case, and thus not

discoverable under Federal Rule of Civil Procedure 26. Plaintiffs further object that this request

seeks documents outside of Plaintiffs’ possession, custody or control. Plaintiffs also object to this

request as seeking information protected by the attorney-client and work product privileges.

       Subject to and without waiving these objections, Plaintiffs will produce relevant, non-

privileged documents responsive to this request, to the extent such documents exist, are in Plaintiffs’

possession, custody or control (other than documents Defendants have produced to Plaintiffs in

discovery), and are located after a reasonably diligent search.

REQUEST FOR PRODUCTION NO. 37:

       All documents and things that refer or relate to the difficulty or inability of Plaintiffs to stop

or limit infringement occurring on BitTorrent networks.

RESPONSE: Plaintiffs object to this request as overbroad, as it encompasses a wide range of

materials that are not relevant and not proportional to the needs of the case, and thus not


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discoverable under Federal Rule of Civil Procedure 26. Plaintiffs further object that this request

seeks documents outside of Plaintiffs’ possession, custody or control. Plaintiffs also object to this

request as seeking information protected by the attorney-client and work product privileges.

        Subject to and without waiving these objections, Plaintiffs will produce relevant, non-

privileged documents responsive to this request, to the extent such documents exist, are in Plaintiffs’

possession, custody or control (other than documents Defendants have produced to Plaintiffs in

discovery), and are located after a reasonably diligent search.

REQUEST FOR PRODUCTION NO. 38:

        All documents and things that refer or relate to any Plaintiff’s consideration or

contemplation of enforcing copyrights against individuals allegedly committing direct copyright

infringement through BitTorrent applications, including documents identifying any difficulties in

suing such individuals and documents relating to decisions not to pursue copyright infringement

cases against such individuals.

RESPONSE: Plaintiffs object to this request as confusing, vague and irrelevant, as potential

copyright actions against direct infringers is not at issue in this action. Plaintiffs further object to

this request as overbroad, as it encompasses a wide range of materials that are not relevant and not

proportional to the needs of the case, and thus not discoverable under Federal Rule of Civil

Procedure 26. Plaintiffs also object to this request as seeking information protected by the attorney-

client and work product privileges. In light of these objections, Plaintiffs will not be producing

documents responsive to this request.

REQUEST FOR PRODUCTION NO. 39:

        All documents and things that support or relate to your allegation in paragraph 66 of the

Complaint that “Grande has the right and ability to supervise and control the infringing activities


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that occur through the use of its service.”

RESPONSE: Plaintiffs object to this request as overbroad, as it encompasses a wide range of

materials that are not relevant and not proportional to the needs of the case, and thus not

discoverable under Federal Rule of Civil Procedure 26. Plaintiffs further object that this request

seeks documents outside of Plaintiffs’ possession, custody or control. Plaintiffs also object to this

request as seeking information protected by the attorney-client and work product privileges.

       Subject to and without waiving these objections, Plaintiffs will produce relevant, non-

privileged documents responsive to this request, to the extent such documents exist, are in Plaintiffs’

possession, custody or control (other than documents Defendants have produced to Plaintiffs in

discovery), and are located after a reasonably diligent search.

REQUEST FOR PRODUCTION NO. 40:

       All documents and things that support or relate to your allegation in paragraph 80 of the

Complaint that “Patriot has the right and ability to supervise and control the infringing activities that

occur using the Grande service.”

RESPONSE: Plaintiffs object to this request as overbroad, as it encompasses a wide range of

materials that are not relevant and not proportional to the needs of the case, and thus not

discoverable under Federal Rule of Civil Procedure 26. Plaintiffs further object that this request

seeks documents outside of Plaintiffs’ possession, custody or control. Plaintiffs also object to this

request as seeking information protected by the attorney-client and work product privileges.

       Subject to and without waiving these objections, Plaintiffs will produce relevant, non-

privileged documents responsive to this request, to the extent such documents exist, are in Plaintiffs’

possession, custody or control (other than documents Defendants have produced to Plaintiffs in

discovery), and are located after a reasonably diligent search.


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REQUEST FOR PRODUCTION NO. 41:

       All documents and things that support or relate to your allegation in paragraph 66 of the

Complaint that Grande “has derived a direct financial benefit from the infringement of Plaintiffs’

copyrights.”

RESPONSE: Plaintiffs object to this request as overbroad, as it encompasses a wide range of

materials that are not relevant and not proportional to the needs of the case, and thus not

discoverable under Federal Rule of Civil Procedure 26. Plaintiffs further object that this request

seeks documents outside of Plaintiffs’ possession, custody or control. Plaintiffs also object to this

request as seeking information protected by the attorney-client and work product privileges.

       Subject to and without waiving these objections, Plaintiffs will produce relevant, non-

privileged documents responsive to this request, to the extent such documents exist, are in Plaintiffs’

possession, custody or control (other than documents Defendants have produced to Plaintiffs in

discovery), and are located after a reasonably diligent search.

REQUEST FOR PRODUCTION NO. 42:

       All documents and things that support or relate to your allegation in paragraph 80 of the

Complaint that Patriot “has derived a direct financial benefit from the infringement of Plaintiffs’

copyrights.”

RESPONSE: Plaintiffs object to this request as overbroad, as it encompasses a wide range of

materials that are not relevant and not proportional to the needs of the case, and thus not

discoverable under Federal Rule of Civil Procedure 26. Plaintiffs further object that this request

seeks documents outside of Plaintiffs’ possession, custody or control. Plaintiffs also object to this

request as seeking information protected by the attorney-client and work product privileges.

       Subject to and without waiving these objections, Plaintiffs will produce relevant, non-


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privileged documents responsive to this request, to the extent such documents exist, are in Plaintiffs’

possession, custody or control (other than documents Defendants have produced to Plaintiffs in

discovery), and are located after a reasonably diligent search.

REQUEST FOR PRODUCTION NO. 43:

       All documents and things that reflect the knowledge of any Plaintiff that an ISP’s subscribers

are capable of using the Internet in ways that do not constitute or result in copyright infringement.

RESPONSE: Plaintiffs object to this request as confusing, vague and irrelevant, as ISP

subscribers’ ability to use the Internet in non-infringing ways is not at issue in this action. Plaintiffs

further object to this request as overbroad, as it encompasses a wide range of materials that are not

relevant and not proportional to the needs of the case, and thus not discoverable under Federal Rule

of Civil Procedure 26. Plaintiffs also object to this request as seeking information protected by the

attorney-client and work product privileges. In light of these objections, Plaintiffs will not be

producing documents responsive to this request.



Dated: November 3, 2017                        Respectfully submitted,


                                        By:   /s/Robert B. Gilmore

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                                               Jonathan E. Missner (admitted pro hac vice)
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                              CERTIFICATE OF SERVICE

       It is hereby certified that a true copy of the foregoing was served via First Class Mail

and Electronic Mail on the 3rd day of November, 2017, upon counsel of record.

Dated: November 3, 2017

                                                     /s/ Robert B. Gilmore
